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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

KALEO, INC.,                                   )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )      C.A. No.
                                               )
ADAMIS PHARMACEUTICALS CORP.,                  )
                                               )
               Defendant.                      )

       PLAINTIFF KALEO, INC.’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, the undersigned counsel for Plaintiff kaleo, Inc. hereby

states that (i) kaleo, Inc. is a privately-held corporation and has no parent corporation and

(ii) Tredegar Corporation owns 10% or more of the stock of kaleo, Inc.


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